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             PLAINTIFF’S RESPONSE TO
    DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

                              Exhibit C

     Excerpts from April 9, 2019 Deposition of Timothy Lee Coder
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4/9/2019                     TIMOTHY LEE CODER                                1

  1   .

  2                   IN THE UNITED STATES DISTRICT COURT

  3                         FOR THE DISTRICT OF KANSAS

  4   .

  5   .

  6   GRIFFITTS & CODER CUSTOM

  7   CHOPPING, LLC, BRADLEY A.

  8   GRIFFITTS and TIMOTHY L. CODER,

  9                 Plaintiffs,

 10           vs.                         Case No. 2:18-cv-02300

 11   CNH INDUSTRIAL AMERICA LLC,

 12                 Defendant.

 13   .

 14   .

 15                                DEPOSITION OF

 16                              TIMOTHY LEE CODER,

 17   taken on behalf of the Defendant, pursuant to

 18   Notice of Deposition, beginning at 8:47 a.m. on

 19   the 9th day of April, 2019, at the law offices of

 20   Joseph Hollander & Craft LLC, 1508 Southwest

 21   Topeka Boulevard, in the City of Topeka, County of

 22   Shawnee, and State of Kansas, before Jill A.

 23   Whetter, RPR, Missouri CCR No. 1058, and Kansas

 24   CCR No. 1485.

 25   .
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  1                                APPEARANCES

  2   .

  3   .

  4   ON BEHALF OF THE PLAINTIFFS:

  5   .

  6           Ms. Diane L. Bellquist

  7           Joseph Hollander & Craft LLC

  8           1508 Southwest Topeka Boulevard

  9           Topeka, Kansas    66612

 10           785.234.3272

 11           dbellquist@josephhollander.com

 12   .

 13   .

 14   ON BEHALF OF THE DEFENDANT:

 15   .

 16           Mr. Patrick A. Edwards

 17           Stinson Leonard Street LLP

 18           1625 North Waterfront Parkway, Suite 300

 19           Wichita, Kansas    67206

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 21           patrick.edwards@stinson.com

 22   .

 23   .

 24   .

 25   .
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  1           Q.    Did they explain what happened on the

  2   $20-an-hour increase?

  3           A.    (Witness shakes head.)     Not good enough

  4   for us to understand why they would do it.          We did

  5   end up leasing one tractor for -- from them

  6   because we had got the tractor, and when we talked

  7   about the agreement, they actually had a tractor

  8   on the lot and we took the tractor before all the

  9   paperwork was signed, and then after they tried to

 10   up the hours on us we did not take delivery on

 11   four more we was talking about, but we did go

 12   ahead take the ownership of the lease of that one.

 13           Q.    And approximately when was that?

 14           A.    Same time.   It would have been January

 15   '16.

 16           Q.    So it's only after the deal -- only after

 17   the deal with the Fendt tractors went south that

 18   you looked to Agri Center; is that fair?

 19           A.    We looked at them before that, but then

 20   we went to them again after the deal went south.

 21   Not as far as which tractors we picked and chose;

 22   what we was planning to do with Agri Center was

 23   bid four identical tractors and get them all off

 24   the lot.      They all had to have the capability of

 25   the front three-point PTO, they had to have a
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  1   minimum of 300 horsepower.

  2           Q.    Of how much horsepower, I'm sorry?

  3           A.    300 minimum.   So then after we dinked the

  4   deal on four tractors to be built, we found out

  5   that the tractors would not be able to be built

  6   for several months.       So that's when Brad and Lee

  7   got together and was able to find tractors that

  8   was already built and setting on lots throughout

  9   the country.

 10           Q.    And so it was after you had already

 11   signed --

 12           A.    The first agreement, yeah.

 13           Q.    Okay.

 14           A.    And that one was null and void, and we

 15   went to the original -- or the agreement we have

 16   now, which is the two CVT tractors which was found

 17   on lots throughout the United States with the

 18   front three-point PTO, and then the third tractor

 19   was just a CVT tractor without front three-point

 20   PTO, and then the other two we waited till they

 21   could make them in the factory.

 22           Q.    Oh, okay.   So the remainings, that's what

 23   -- that's the reason for the delay.

 24           A.    (Witness nods head.)

 25           Q.    Okay.   What -- what -- with respect to
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  1   and I'm going to get my exhibits organized and

  2   then we'll keep plowing through.         If you want to

  3   get up and get a drink or something real quick we

  4   can.

  5                 MR. EDWARDS:   We can go off the record

  6   real quick.

  7                 (THEREUPON, an off-the-record discussion

  8   was had; WHEREUPON, a break was taken.)

  9           BY MR. EDWARDS:

 10           Q.    Okay.   Mr. Coder, we're back on after a

 11   short break.      I want to kind of change gears now.

 12   And we -- we talked earlier about some of the GPS

 13   issues, but I just want to make sure we fully

 14   flesh it out.

 15           You mentioned that -- I believe you mentioned

 16   earlier that fairly shortly after you -- after you

 17   received the first two tractors you noticed a

 18   problem with the GPS; is that correct?

 19           A.    Correct.

 20           Q.    And was that problem noticed -- were you

 21   or Brad operating the equipment or was it your

 22   employees operating it and then letting you know?

 23           A.    Our employees were operating it and let

 24   us know.

 25           Q.    At that point or shortly thereabouts, did
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  1   you contact Agri Center for assistance?

  2           A.    At that point, we contacted the Agri

  3   Center.

  4           Q.    And I -- looking at the records, it

  5   appears there's quite a bit of communication from

  6   Agri Center to CNH in -- from essentially March to

  7   October of 2016 related to GPS-related issues.          Is

  8   -- I'm assuming that's because you or Brad were

  9   communicating with Agri Center saying, "We got

 10   this issue"?

 11           A.    Correct.

 12                 MS. BELLQUIST:    Objection to form and

 13   foundation.

 14           BY MR. EDWARDS:

 15           Q.    Did we previously discuss -- previously

 16   in the deposition we talked about issues during

 17   manure spreading and issues during the swathing

 18   where the GPS had -- where the GPS essentially

 19   would -- would "crash," for a better term.

 20           A.    (Witness nods head.)

 21           Q.    Did -- were there any -- are there any

 22   other details related to the crashing of the GPS,

 23   for instance, like other applications, other uses,

 24   where it occurred, other than what we talked

 25   about?
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  1   extra quote, then he'll pay us a little extra to

  2   haul it with the spreader.        Or if the actual dairy

  3   was spreading on their own ground, they would just

  4   have you pull out of their lots and go take it to

  5   their own ground.

  6           Q.    In 2016, did you or Brad ever communicate

  7   directly with CNH -- and not -- not going through

  8   Agri Center, but directly with CNH, about the GPS

  9   issues or was everything in 2000 -- sorry, I -- I

 10   meant to say "2016"; I don't know if I said

 11   "2017."

 12           But in 2016, was everything through Agri

 13   Center or were there any direct communications

 14   indications with CNH about the GPS?

 15           A.    To the best of my knowledge, everything

 16   was ran through Agri Center.

 17           Q.    The CNH records that I reviewed, I think

 18   I mentioned this, show assist cases entered from

 19   March to 2000 -- or March to October of 2016, and

 20   then there's a lapse regarding GPS-related assist

 21   cases through the rest of '16 and then all of '17.

 22   During that period of time, was there -- were

 23   there still communications between you or Brad or

 24   anyone else at Griffitts & Coder and Agri Center

 25   regarding the GPS?
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  1           A.    Yes.

  2                 MS. BELLQUIST:    Objection to form and

  3   foundation.

  4                 THE WITNESS:   Yes, there was several.

  5           BY MR. EDWARDS:

  6           Q.    Was there a -- was there a dead time in

  7   that time frame for several months when there

  8   weren't complaints regarding --

  9           A.    There was absolutely no dead time.      It

 10   was always the same issue, and we was always told

 11   they was working on it.

 12           Q.    And during -- from October 2016 through

 13   November 2017, who were you communicating with at

 14   Agri Center regarding the GPS issue?

 15           A.    Lee File and Trent -- can't remember

 16   Trent's last name right at the moment.

 17           Q.    Morrell, maybe?

 18           A.    May -- could be.    He's their tech guy.

 19           Q.    Were those communications during that

 20   period of time, from October '16 through November

 21   of '17, were those over the phone, by email, by

 22   text; how -- how were those communications?

 23           A.    Always over the phone.

 24           Q.    And how often were those phone calls

 25   being made regard -- again, regarding the GPS and
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  1   during that October 2016 to November 2017 time

  2   frame.

  3        A.   I would say a minimum of once a month and

  4   sometimes five or six times a month.

  5        Q.   And did I hear you correctly that you

  6   said earlier that you -- when you -- when this was

  7   brought up with Agri Center they told you that CNH

  8   was working on it?

  9        A.   That is correct.

 10        Q.   So did they give you the impression that

 11   they were communicating that on to CNH?

 12        A.   That is the impression I got.

 13        Q.   Were you and Brad still operating the

 14   five tractors in question on either swathing or

 15   manure spreading during the October 2016 to

 16   November 2017 time frame?

 17        A.   Yes, we were.

 18        Q.   I saw an email that I believe actually

 19   was a exhibit in the depositions last week in

 20   Pennsylvania that was from Trent Morrell to a

 21   Nathan Gustafson at CNH on December 15th, 2017

 22   that referenced the GPS issue?

 23        A.   Uh-huh.    Yes.

 24        Q.   The email -- and I apologize I don't have

 25   it in front of me, but if I recall correctly, it
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  1   made it sound like you and Trent had a phone call

  2   with Nathan in the recent history prior -- just

  3   directly prior to that email.     Do you recall

  4   speaking with a Nathan Gustafson in December 2017?

  5        A.   I do not recall speaking with Nathan on

  6   the phone; what I do recall was in November of

  7   2017 we were doing a lot of manure spreading and I

  8   expressed to Trent several times he needs to get

  9   down here and fix this and if he can't do it

 10   somebody with New Holland needs to be involved in

 11   it and I called him every week telling him get

 12   down there and fix this.

 13        So then they told me that they was working on

 14   it again, and they was supposed to have an answer

 15   for me by November 15th.    And if you recall in the

 16   emails, Trent had sent a couple emails to this guy

 17   with no response and I had sent a couple to Trent.

 18   And then around the end of the month, he wanted to

 19   use the excuse that it was the holidays.      I was

 20   not very impressed with the excuse of the holidays

 21   beings we was trying to get this established from

 22   November 15th to December 15th for them to be down

 23   there and fix it.

 24        Q.   So prior to November or December 2017,

 25   had you ever either been copied on emails or texts
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  1        A.     -- but they was only there for three or

  2   four hours one day.

  3        Q.     So the -- when you -- a few minutes ago

  4   when you were mentioning November 15th, do you

  5   think now that was probably December 15th?

  6        A.     Oh, no.   No.   Because we started

  7   spreading hard and heavy at November, and that's

  8   why I started getting on them hard about getting

  9   down there and fixing it.      Because we had to shut

 10   these things off three or four times a day to

 11   recycle it.    And I told them, this ain't working,

 12   get down here and fix this.      And I called daily.

 13   I mean, I was very much a thorn in their side,

 14   because there's only so much that a guy can

 15   actually take off of this before he gets a little

 16   irate.    So daily I was calling from November 15th

 17   to December 15th, and the that's when the email

 18   exchange started.

 19        Q.     And those -- just so we're clear here,

 20   those calls were going to Trent at Agri Center,

 21   correct?

 22        A.     Trent and Lee File.

 23        Q.     So I -- my notes indicate that we have

 24   that first visit in early January, and do the

 25   names Greg Linka and Carmen Strmsek from CNH, were
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  1   -- were those the individuals that CNH sent down

  2   there?

  3        A.   Those two were there, along with Eric

  4   Lind and a -- Eric Lind, and I do believe there

  5   was another tech there with them, but I don't

  6   recall a name.

  7        Q.   Do you recall if that was a tech from CNH

  8   or from Agri Center?

  9        A.   CNH.

 10        Q.   And you think that Eric was there on Jan

 11   -- in the -- on the early January visit?

 12        A.   Eric was there.

 13        Q.   Then it's my understanding that after

 14   that visit there -- at some point along the line

 15   there was a weekly call -- or a biweekly call that

 16   was set up with -- between you and then Agri

 17   Center and then folks from CNH; is that correct?

 18        A.   That weekly call was established the day

 19   that they was there, reason being is I wanted to

 20   show that they was actually doing progress and I

 21   wanted to hear about progress instead of getting

 22   booted to the side.

 23        The first thing that Carmen told me when she

 24   got down there is she was just getting involved in

 25   this thing, that it fell through the cracks in New
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  1   Holland, New Holland accepts responsibility for

  2   not taking care of it, it is all their fault that

  3   it didn't get handled correctly, they was very

  4   apologetic about it.

  5        So on that day we performed the testing, took

  6   two of the tractors out into a field with

  7   spreaders on them, simulated the actual way that

  8   the driving and everything was done, they hooked

  9   all their equipment into them and drove the

 10   tractors themself.    I think, I'm not sure, we had

 11   an operator.    I think they might have been driving

 12   them.   Either way, I don't really recall who was

 13   driving, but they was testing the tractors.

 14        And during that test time, Carmen, Lee File

 15   and I was visiting and talking and we was, you

 16   know -- I expressed to her, I says, "What are you

 17   guys planning on doing with this thing, can you

 18   fix them, can you not fix them, what do you want

 19   to do?"    She said, "Well, we're working on it,

 20   we're going to try to."    I said, "What happens if

 21   you can't get it fixed"?    She said, "Well, what do

 22   you mean?"    I said, "If you can't fix this, I no

 23   longer want to own them."    I said, "It's a thorn

 24   in my side, it's a burden, and it's not what I

 25   bought."
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  1        Q.    So we have the January site visit and

  2   then we have weekly calls.     It's my understanding

  3   that the next in-person visit was to your home on

  4   February 27th, 2018 in -- in Kansas, correct?

  5        A.    That is correct.

  6        Now, when we set up the weekly calls, I had

  7   personally asked Cameron and Greg how long they

  8   thought it was going to take to fix this issue,

  9   because they thought it was just a little glitch

 10   in the writing of the stuff.     And they assured me

 11   that they thought they could have it done within

 12   60 days.   And that's when I told them, "What

 13   happens at the end of 60 days?"     And they said,

 14   "Well, what do you mean?"     I says, "If you can't

 15   get this fixed in 60 days," I says, "I no longer

 16   want to own these tractors, don't have nothing to

 17   do with these tractors, I'm tired of the headache

 18   of these tractors."    And they were well aware of

 19   the situation.

 20        Now, the biweekly calls that was set up, the

 21   first call that came around, I received some calls

 22   from Agri Center wanting to know if we could put

 23   the calls off for a week or two.     And that's when

 24   I stated to Agri Center, there is no possible way

 25   you are going to boot me on this issue again.
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  1   any real issues, per se, with that tractor.

  2        Q.   And that was a T8 what?

  3        A.   360.

  4        Q.   Okay.

  5        A.   And then this past spring, New Holland

  6   was going to provide a T8 380.     We had a breakdown

  7   right as the season started and they were supposed

  8   to be getting the tractor down to us.      And long

  9   story short, it took several weeks longer than

 10   what they had stated, and when the tractor showed

 11   up it had a hydraulic and an antifreeze leak.       It

 12   was a brand-new tractor that supposedly had been

 13   PDI'd through the factory and PDI'd through a

 14   dealership up north somewhere.     And when it shows

 15   up to us, it's not even able to be used.      It had

 16   to be repaired.

 17        Now, we used that tractor this spring and in

 18   that time we had at least two of our own that had

 19   go back to the shop, PTO issues, wiring issues,

 20   ejector issues, ejector pump issues, you name it.

 21   I mean, you've seen the list.     The stack's this

 22   thick (witness indicating).

 23        So we had put around I'm going to say 200

 24   hours on the tractor from New Holland and then

 25   they pulled it from us and wouldn't let us use it
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  1   no more.

  2        Q.     Are those the -- you -- I think you just

  3   listed four.    Are those the only four loaners that

  4   you've been provided?

  5        A.     Them was the only four loaners we was

  6   provided.

  7        Q.     At any point, did you have two loaners at

  8   one time?

  9        A.     Yes.    This spring we had the T7 315 back

 10   again, and we had New Holland's T8 380.

 11        Q.     When you say "this past spring," you mean

 12   spring of '18?

 13        A.     Spring of '18, correct.

 14        Q.     Are there any other problems or

 15   objections you had to the loaners, other than what

 16   you just told me?

 17        A.     The only issue I have with loaners is

 18   they was never there.      They was there

 19   sporadically, but when I've had breakdowns, I'd go

 20   -- let's say, like November of '17 to March of

 21   '18, I had two tractors in the shop that entire

 22   time with one loaner.

 23        Q.     Okay.

 24        A.     And that was from Lee, not New Holland.

 25               THE REPORTER:    That was from Lee?
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  1        A.     Lee File with Agri Center.

  2        BY MR. EDWARDS:

  3        Q.     So have we covered all of the loaners

  4   that Griffitts & Coder has been provided with

  5   either Agri Center or CNH?

  6        A.     Correct.    And then they shut the loaner

  7   system off May of last year.      No longer was -- was

  8   able to receive a loaner from them for some

  9   reason.   I had three tractors in the shop all at

 10   the same time in August.      The mechanical issues

 11   were just beyond anything I have ever seen in my

 12   entire life.

 13        Q.     In discovery in this case, and

 14   specifically in your Interrogatory Answers -- I'm

 15   trying to fast-track things so I can get you out

 16   of here -- you have identified the amount of hours

 17   on each tractor as of a certain date.      I believe

 18   your initial Interrogatory answers were -- have

 19   the hours as of August 18th, 2018; the

 20   supplemental responses had the hours as of January

 21   10, 2019?

 22        A.     (Witness nods head.)

 23        Q.     Do you have any idea, from January 10,

 24   2019 to the present time, how many additional

 25   hours were put on each tractor?
